Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 1 of 18 Page ID #:4




                          Exhibit A
                 Case 2:20-cv-07426-PSG-E                      Document 1-1 Filed 08/17/20 Page 2 of 18 Page ID #:5
                         Court of California, County or Los Angeles on 06/03/2020 06:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez.Deputy Cieri<
Electronically FILED by Superi
                                                                                          20STCV20977
                                       Assigned for all purposes to: Stanley Mosk Courthouse. Judicial Officer: David Cowan




                                 Azar Mouzari, Esq. (State Bar No. 263461) ·
                                 BEYERLY HILLS TRIAL ATTORNEYS, P.C.
                          2      468 N. Camden Drive, Suite 238
                                 Beverly Hills, California 90210
                          3
                                 Tel: 310-858-5567
                          4      Fax: 424-286-0963
                                 Email: azar@bhtrialattorneys.com
                          5
                                 Attorneys for Plaintiff ADERIYIKE LA WAL
                          6

                          7
                                                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                          8
                                                    FOR THE COUNTY OF LOS ANGELES-' CENTRAL DISTRICT
                          9

                        10
                                  ADERIYlKE LA WAL, an individual..                                                Case No.:
                        11
                                                              Plaintiff,                                                   20STC:V20977
                        12                  V.

                        13                                                                                        . COMPLAINT
                                  PATAGONIA GLOBAL, LLC, a
                        14        California Limited Liability Company, and .
                                  DOES 1-10, inclusive.
                        15

                        16                                Defendants.
                                                                                                                  . JURY TRIAL DEMANDED
                        17

                        18
                                      Plaintiff, Ms. Aderiyike Lawal ("Plaintiff".),,alleges the-following·basedupon (nfo.rmation
                        19                       - - --   .   _._
                                                                           -   - -· - -                       .
          - --- - ·              and belief:
                       20

                       21                                                           I. NATURE OF THE CASE .

                       22            1. Plaintiff brings this civil rights action against Patagonia Global, LLC, a California
                       23
                                 Limited Liability Company, ("Defendant") seeking toput an end to the systemic civil rights
                       24
                                 violations committed by Defendant against Plaintiff._
                       25
                                    2. Plaintiff is a visually-impaire·d and legafly ~lind person who :requires screen-reading
                       26

                       27        software to access and read website content using her computer. Plaintiff uses the terms "blind"

                       28        or " visually-impaired" herein to refer to ·all.peopl~_.with vis~al impairments who meet the legal
                                                                     '       . . .. : . ~
                                                                                        ..-      .



                                                                                                COMPLAINT
                                                                                                        -I-
            Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 3 of 18 Page ID #:6




                     definition ofblindness_in that_ they fall within the meaning of California's Unruh Civil Rights

                2    Act ("UCRA"), Cal. Civ. Code § 51, et seq. and have a visual acuity with correction of less than
                3
                     or equal to 20 x 200.
                4
                         3. Plaintiff, and all other visually -impaired individuals, are unnecessarily denied equal
                5
                     access to the same online information and goods and services offered to others because
                6

                7    Defendant's website, https://www.patagonia.com/ (the "Website"), and all subgroups of

                8    webpages contained in the Website are not fully accessible to screen-reading technology used by
                9    blind individuals. This relegates visually imp.aired customers of Defendant to a second-class
               10
                     experience. If Defendant's Website was accessible, then visually impaired individuals could
              11
                     independently access information relating to the pricing, description, and details of Defendant's
               12

               13    goods and services, with the same convenience available to others. In contrast with Defendant,

              14     many other businesses operate websites and.m()bile applications that are fully accessible.to
              15
                     visually impaired individuals.
               16
                         4. Upon information arid belief, Plaintiff allege~ that Defendant produces, markets, offers
              . I7
                     for sale, sells, and/or monetizes designer retail products and goods, including clothing and ot~e! ___ _ _ _
               18                                                                                      - - - - .-  __:,. _




              19     personal acc_essories,.in .various rctailers•incHfdin_g one(s)'i~cated with(n the County of Los
                     - · -- - -- ---                                 . . ..
- ----- -
              20     Angeles, California. The retai~ store(s) that offer Defendant's products are commercial stores .

              21     that offer f~r sale clothing a~d other personal acc_e ssories to the pubiic. The retail store(s) that
              22
                     offer Defendant's products, including the one(s) within the County of-Los Angeles, California,
              23
                     are places of public accommodation open to the public.-
                                                                        . . .. --
              24                                              ··. ·.. .

                         5. Upon information and belief, Plaintiff alleges that Defendant owns, operates, man~ges,
              25

              26     updates and/or monetizes its Website; which provide,s to· the public a· wi?_e array of goods,

              27 . services, discounts, gift cards, and/or information concerning the brick-and-mortar retail store(s)

              28
                                                                              i   !• • •

                                                                 . COMPLAINT .
                                                                       -2-
         Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 4 of 18 Page ID #:7




                   that offer Defendant's products, including the one(s) located in the County of Los Angeles. The

               2   Website also offers the public on line features that allow the sale of Defendant's goods and
              3
                   services.
              4
                       6. Defendant's Website contains significant access barriers that make it impossible for
              5
              6    visually impaired customers to properly and fuJiy.utilize the Website. Specifically, these barriers

              7    make it impossible for Plaintiff to have full access to the Website and independently purchase

              8    goods and services on line and access irifonnation concerning discounts, brick-and-mortar stores,
              9
                   and other goods and services offered by Defendant online.
             10
                       7. Defendant thus excludes the visually Impaired from full and equal participation in the
             11                                                     •.                .
                   growing Internet economy that is increasingly a fundamental part of the common marketplace · · ·
             12

             13    and daily living. In the wave ~ft.echnological advances in· recent years, assistive computer .

             14    technology is becoming an increasingly prominent part of everyday life.for visually impaired
             15
                   individuals, allowing them to fully and independently access a variety of goods and services,
             16
                   including making on line purchase of consumer products.
             17
                       8. Despite-readily available methods to render we_b sites folly accessible to all, such as the
                                                                         - - - - - -- - ------------·-
             18                                            ,                                                               -
__ _ _ _ __]9 _ methods .in.use-by other busihesses,wnichmake correct.and proper use of.alternative text,

             20    accessible forms, descriptive links, resizable text, and labels, Defendant has failed to design,
             21
                   construct, maintain, and operate its Website_ to be fully accessible to and independently usable by ·
             22
                   Plaintiff and other visua_lly-hnpaired individuals. ·
             23
                      9. Defendant' s denial of full and equal access to its Website, and th_e refore denial of its .
             24

             25    products and services offered thereby and in co?Junction with the physical location(s) that offer .

             26    for sale Defendant's products, is a violation of Plaintiffs-rights
                                         '                             ..       ' •.
                                                                                      under the
                                                                                              . .
                                                                                                  UCRA.

             27
             28


                   _________                                   COMPLAINT,
                                                                ...,_..,,
                                                                    . -3-:
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 5 of 18 Page ID #:8




            10. The California legislature has provided a clear, national mandate for the elimination of

    2   discrimination against individuals with disabilities when it enacted California's UCRA, Cal. Civ.
    3
        Code § 51, et seq. Such discrimination includes barriers to full integration, independent living,
    4
        and equal opportunity for persons with disabilities, including.those barriers created by websites
    5
        and other public accommodations that are inaccessible to blind and visually impaired persons.
    6

    7 · Specifically, California state law mandates equal protection of persons with disabilities,

    8   requiring that places of public accommodation pro_v ide access to goods, services and facilities fo
    9
        persons with disabilities. See UCRA, Cal, Civ. ~ode§ 51 , et seq. ·
   10
            11. Unless Defendant remedies.the numerous access barriers on its Website, Plaintiff will
   11
        continue to be unable to independently nav_igate, browse, _use, access and complete a_transaction
   12

   13   on the Website. Because Defendant's
                                   .     . .
                                             Website is not equally
                                                             .
                                                                    accessible
                                                                       ..
                                                                               to blind and visually-

   14   impaired consumers in violation ofthe UCRA, this complaint seeks declaratory and injunctive
   15   relief to correct Defendant's policies and practices to include measures necessary to ensure
   16
        compliance with federal and state law and to inc_lude m?~itoring of such measures, to update and .
   17

   18              . .                                                   .·.. .   - --- -- -  -
        remove accessibility barriers on the Website so that Plaintiff may be able to independently and
                                                                                              ~.---~ ..,,. ----   -
   19   pr~v~tely_ U.§~ Defendant's-Website: Tf~is complain(afso seeks ~6.;pensatory damages to Plaintiff

   20   for having been subjected to unlawfol discrimination.

   21                                   II. JURISDICTION AND VENUE
   22
            i 2. This Court has subject-matter jurisdiction over this action. This Court also has personal
   23
        jurisdiction over Defendant because it conducts.and continues fo conduct a substantial and
   24

   25
        significant amount of business in the County of Los Ange~es, in the State of California and

   26   because Defendant' s offending Website is available across California. Brick-and-mortar

   27

   28

                                                    COMPLAINT
                                                       -4-


                                                       •..   ;   .
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 6 of 18 Page ID #:9




        location(s) of retail store(s) that offer for sale Defendant's products· are also located·within the

    2   County of Los Angeles.
    3
            13. Defendant has been and is committing the acts allege.d herein through its Website
    4
        accessible in the County of Los Angeles, and has been.and is violating the rights of Plaintiff and
    5
        other consumers with disabilities in this County, and has b.een and is causin.g injury to Plaintiff in
    6
    7   this County. All events giving rise to Plaintiff's causes of action took place in the State of

    8   California, County of Los Angeles. Therefore, jurisdicticm of this Court is proper.
    9
            14. Venue is proper in this .Court because Pl.a intiff resides in th.~•County of Los Angeles,
  10
        Defendant conducts and continues· to .c<;mduct a ·substantial a~d significant amount of business in
   11
        this County, Defendant is also subject to personal jurisdiction in this County, and a substantial
  12

  13    portion of the conduct complained of herein occurred in this County.

   14                                                  III. PARTIES .
  15        15. Plaintiff, at ~II times relevant and as.alleged herein, is a resident of.Los Angeles, California.
  16
            16. Plaintiff is a blind, visually-impaired handicapped person. Plaintiff uses screen-reader
   17
        software to access and operate websites and mobile applications. She is knowledgeable about
   18

  19
        various tools which allow visually impairt:d individuals to access websites, including various

  20    screen-reader software.

  21        17. Plaintiff has attempted to use Defendant's Website in order to access information
  22
        concerning Defendant's goods and services available online and in brick-and-mortar retail
  23
        store(s). She has been unable to access information and goods and services offered to others
  24
        through the Website. She desires to u·s e Defendant'.s W~bsite and :haif the necessary computer
  25
                                        .     .    .                 .

  26    technology to do so if it were fully accessible to the visually impaired.

  27
  28

                                                       COMPLAINT.. ::
                                                           . - 5.~
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 7 of 18 Page ID #:10




            18. The access barriers Plaintiff has encountered on Defendant's Website have deterred
    2   Plaintiff from purchasing goods and services through Defendant's Website as well as visiting the
    3
        brick-and-mortar location(s) that offer for sale Defendant's products.
    4
            19.   Plaintiff is informed and believes, and thereon alleges that Defendant owns, operates,
    5

    6   manages, updates and/or monetizes_its Website, which provides to the public a_wide array of

    7   goods, services, discounts, gift cards~ a~d/or information concerning.brick-and-morta~ retail

    8   store(s) that offer for sale Defendant's products, including the one(s) located in the County of
    9
        Los Angeles. The Website also offers the public online features that allow the sale of
   10
        Defendant's goods and services.
   11
            20. Plaintiff is informed and believes, and thereon all_egesthat, at all relevant times,
   12
   13   Defendant has continuously been doing business in Los Angeles, California.

   14       21. The brick-and-mortar location(s) that offerJor sale Defendants' products, including the
   15
        retail store(s) located within the County of Los Angeles,_California, are commercial stores that
   16
        offer for sale clothing and other personal accessories to the publi_c. Those retail store(s) within
   17
        the County of Los Angeles, California are places of public accommodation open to the public.
   18

   19   See UCRA, Cal. Civ. Code§ .'51, et seq. Defendant's Website is a service, privilege, or

   20   advantage of those physical location(s). Through the Website, customers may review
   21   information and make purchases relating Defendant's goods and services offered online and in
   22
        physical brick-and-mortar location(s).
   23
            22. The access barriers Plaintiff encountered on Defendant's Website have caused a denial of
   24
   25   Plaintiffs full and equal access multiple times i_n the past, and now deter Plaintiff on a regular·

   26   basis from full access to Defendant's Website: Sim.1larly, the acc.e ss barri~rs plaintiff. ·

   27
   28

                                                     COMPLAINT
                                                        - 6 -.
                                                                      - ··
   Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 8 of 18 Page ID #:11




            encountered on Defendant's Website have impeded Plaintiff's full and equal enjoyment of goods

       2    and services offered at brick-and-mortar location(s) that offer for sale Defendant's products.
       3
               23. The true names or capacities, whether individual, corporate, associate or otherwise of
       4
            defendants, DOES 1 through l 0, inclusive, are unknown to Plaintiff who therefore sues said
       5
            DOE defendants by such fictitious names.
       6

       7       24. Plaintiff is informed and believes, and thereon alleges that each of the defenda~ts

       8    designated herein as.a DOE is responsible for the unlawful acts -as herein alleged, and Plaintiff
       9
            will ask leave of the Court to amend this complaint to show its true names and capacities when
       10
            same have been ascertained.
      11
               25. Plaintiff is informed and believes, and thereon alleges that at all times herein mentioned
      12

       13   Defendants, and each or°them, were the agents: serv&rits a~d-employees ea~h ofthe other, acting

       14   within the course and scope of said agency and employment, with the full knowledge and

      15    consent of each of the Defendants. Each of the acts and/or omissions alleged herein were made
       16
            known to and ratified by each of the Defendants (including any DOE defe.ndant).
       17
               26. Defendant and ·each and every DQE befendant shall      be referred to ,iollectively -as
       18

       19   "Defendants" hereafter.

      20                                   IV. FACTUAL ALLEGATIONS

      21       27. Plaintiff is informed and believes, and thereon alleges that Defendants manage, own,
      22
            operate, partner with arid/or collaborate with brick-and-mortar
                                                              .    . .  .   .locati~n(s)
                                                                              .        .
                                                                                         that  offer Defendants'
                                                                                           . . .            .
      23
            goods and services for sale .to the general public, including but not limited to commercial retail
      24
     . 25   store(s) that are places of public accommodation .

      26       28. Plaintiff is informed and believes; and thereon alleges that Defendants operate, maintain, ·

      27    update, monetize and/o~ own a branded·commerciai-
                                                            ·Iriterneh..vebsitelocated
                                      .     .          .             .    . .    .. . . .at .
      28

                                                        COMPLAINT
                                                           .. 7 :_


------,-
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 9 of 18 Page ID #:12




        https://www.patagonia.com/ for potential and existing customers to conveniently obtain

    2   information and make purchases related to Defendants' goods and services, which include
    3
        clothing and other personal accessories. Among other features -on_t~e Website, Defendants
    4                                              .                      .                 .
        promote accessing information about Defendant' s. products and brick-and:.m·ortar store(s)that
    5
        offer for sale Defendants' products and making purchases online through the Website. Through
    6
    7   its Website, Defendants provide to the public a wide array of goods, services, discounts, gift

    8   cards, and/or information concerning brick-and-mort_a r·refail store(s) that offer .for sale
                                                                   .     . .
                                                                          ~




    9
        Defendants' products, including the on~(s) located i~ the Co~nty of L~s"Angeles ..
   10
            29. Customers use Defendants' Website to access many goods and services available at
   11
        brick-and-mortar location(s) that offer Defendant's products.
   12

   13       30. It is undisputed that the· Internet has become a significant so~rce of information for

   14   conducting busin·ess and for doing everyday activities such ·a~:shoppirig, banking, etc.; for.
   15
        sighted and visually impaired individuals. When properly accessible, the Internet provides
   16
        individuals with disabilities significant independence. Visually impaired individuals regularly
   17
        access a broad range of accessible Internet-websites thro~gh the use of screen-reader technology,
   18
                                                              0


   19   which can translate visual-informatio~·on a webs ite intc(n~~v1s~al format_s such as synthesized

   20   speech and refreshable Braille. .
   21       31. Visually i~paired individuals regularly access a broad range of accessible lnter_net
   22
        websites through the use of screen-reader technology, which can translate visual information on
                                         -                        .   .       .     .   ~       .

   23
        a website into non visual ,formats such a~ synth~s:i.ze:cfsp.eech and. refreshable Braille:
   24
            32. Except for legally blind individuals ~ho_se residual vision allows them to use them to use
   25
   26   magnification, screen reading technology is t_~e _oi:ily method which allows visually impaired

   27
                                                                                  . . ..
   28                                                                                                        . • ·, ·

                                                       COMPLAINT
                                                          ~   8-
       Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 10 of 18 Page ID #:13




                  individuals independent access to the Internet. In this case, Plaintiff can only access the Internet
              2   independently with the assistance of a screen-reader.
              3
                      33. For the screen reader technology to function, th_e infonnation on a website must be
              4
                  capable of being rendered into meaningful text. If the website confon_t is construct~d such that it
              5
              6   cannot be rendered into meaningful text, visually impaired individuals are unable to access the

              7   same content available to sighted individuals because they cannot detect what is depicted on the

              8   screen and, for example, click where required to access further information and services.
              9
                      34. There are
                              . ,.
                                    well-established industry
                                                          .   .
                                                                adopted guidelines
                                                                         .
                                                                         '    .
                                                                                   fo_r
                                                                                     .
                                                                                        making
                                                                                         . ·: . _.
                                                                                                   websites
                                                                                                    . .
                                                                                                            acces~ible
                                                                                                              .
                                                                                                                        to
                                                                                                                       . .
             10
                  visually impaired individuals. These gui_delincs have bee_n in place for ~-t least s~veral ye~rs and
             11
                  have been followed successfully by other large business entities in making their websites
             12

             13   accessible. The Web Accessibility Initiative ("WAI"), a project of the World Wide Web

             14   Consortium which is the leading standards organization of the Web,.has developed guidelines for
             15
                  website accessibility.
             16
                      35. The federal government has also promulgated website accessibility standards under
             17
                  Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so
             18

             19   that a business design ing a website can easily acces·s them ..

             20      36. These guidelines recommend several basic and·easily to implement ·components for .
             21
                  making websites accessible, including, but not limited to: adding invisible alt-text to graphics;
             22
                  ensuring that all functions can be performed using a keyboard and screen reader; ensuring that
             23
                  image maps are accessible; removing emptyHnks or headings which are confusing; removing
             24
             25   documents which do not allow screen-readers to properly ~ead the text; and adding headings and

             26   links so that visually impaired people can easily navigate _the site. Withounhese very basic
             27   components, a we_bsite will be inaccessible to visuaHy impaired persons using screen readers.
             28
                                                                                        . · · ' . ·.· . '· ·.
                                                              COMPLAINT ·
                                                                   -9-                          -- -·- --:----- -.- .:....----
                                                 ----- - ------
                         - --- --- - --- - - · -
----------
      Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 11 of 18 Page ID #:14




                   37. In this case, based on information and .belief, :Plaintiffalleges that Defe.ndants have a

           2   policy and practice of denying the visually impaired full access to their Website, including
           3
               access to the goods and services offered by Defendants through their Website. Due to
           4
               Defendants' failure and refusal to remove access barriers to their Website, visually impaired
           5

           6   individuals have been and are being denied equal access to·physical location(s) that offer

           7   Defendants' products, as well as to the numerous goods, services and benefits offered to the

           8   public through their Website.
           9
                   38. Defendants deny the visually impaired full access to goods, services and information
          10
               made available through their Website by preventirig them from freely navi_gating the Website.
          11
                   39. Defendants' Website contains access barriers that prevent free and full use by visually ·
          12

          13   impaired persons using keyboards and screen reading software. These barriers are pervasive and

          14   include, but are not limited to: lack of alt-text or text equivalent on graphics, inaccessible forms,
          15
               the lack of adequate prompting and labeHng, the denial of ~eyboa~d a~cess, empty links and
          16
               headings, inability to complete important tasks using the keyhoard and screen reader alone, and ·
          17
               content which is not fully readable or navigable using a screen reader.
          18

          19      40. Alternative text ("Alt-text") is invisible code embedded beneath a graphical image on a

          20   website. Web accessibility requires that alt-text be coded with each .picture so that a screen

          21   reader can speak the alternative text while   asighted used;ees the pi~ture. Ait~textdoes not
          22
               change the visual presentation except that it appears as a text pop-up when the mouse moves
          23
               over the picture. There are many important pictures on Defendants' Website that lack a text
          24
          25   equivalent. The lack of Alt-text on these graphics -prevents scre~n readers from accurately .

          26   vocalizing a description of the graphics. Screen reaciei-s detect and'vocaHie Alt-text•t6 provide   a.
          27

          28
                                                          ,..
                                                          . COMPLAINT                                                   _ _ __ _ _.

                                                             -- .--10-
                                                                    ---- - --- · - - ~ ~ ~ -- - - - - - - - -
--------- ·-----                                                                                                         . . ·. ·   . .
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 12 of 18 Page ID #:15




         description of the image to a blind computer user. As a resµlt, vis~ally impaired customers of

     2   Defendants are unable to effectively determine what is on the. Website and fully brow~e th~ site·. .
     3
             41. Defendants' Website also lacks prompting information and accommodations necessary to
    4
         allow visually impaired shoppers who use screen readers to locate and accurately fill-out online
     5
     6   information. Specifically, due to the lack of adequate and functional'labeling, visually impaired

     7 · customers cannot, for example, independently and fully acce~s ~hd utilize'the Website.

     8       42. Defendants' Website also includes numerous instances of empty links, labels and/or
     9
         headings which prevent visually-impaired individuals from recognizing the function or purposes
    10
         of links, labels and/or headings contained in the Website: If a link, label or heading contains no
    11

    12
         text, the function or purpose. of the link, heading
                                                       .
                                                             or heading will ~ot be.presented                     to the.user.
    13   This can introduce confusion for keyboard and. screen reader users.

    14       43. As another example of barriers present ori Defendant's Website, there are several
    15
         occurrences where functions cannot be performed ).1sing
                                                              ,
                                                                 a keyboard
                                                                        .
                                                                            and screen reader. This
    16
         includes, but is not limited, to the section relating to t>efendant;s prod_ucts; . ·..
    17
             44. Due to Defendants' Website inaccessibility, v.isually .impaired customers of Defendants
    18

    19   cannot independently investigate goods and servi_ces ott:ered by Defendants and make purchases

   20    via the Internet as sighted individuals can and do . .
   21       45. Defendants' Website th.us contains significant acc.ess barrier,s whfoh deny foll and equal
   22
         access to Plaintiff, who would otherwise use their Website and who would otherwise be able to
   23
         fully and equally enjoy the benefits of the.physical location(s) that offer for sale Defendants'
   24
   25    products.

   26        46. Plaintiff has personally
                                        .
                                          pat~onized .Defenda(Jts'
                                                            .   .
                                                                   Websit~
                                                                    .
                                                                           _in the past;_
                                                                                    .
                                                                                        and
                                                                                          .
                                                                                            intends
                                                                                                '.
                                                                                                      to_.
                                                                                                   . .. ~.    '



   27    continue to patronize Defendants' Website. Howe~er, unless Defendant                           'is r~quired to ellmin~te
   28

                                                           COMPLAINT
                                                              - I I.a                                        - --- -- --    ----- -·
                                                           ----   -- -~ · -.-   .:.. ~-- -· -·_--:---    -
                                    - --       - · - -·-
                     -· - -   .--          ~
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 13 of 18 Page ID #:16




         the access barriers at issue, and required to change their policies so that acces's barriers do not

     2   reoccur on Defendants' Website, Plaintiff will continue to be denied full access to the Website as
     3
         described, and will be deterred from fully using Defend_a nts'. \Vebsite, ..
     4
             47. Specifically, the last time Plaintiff attempted to do business·with Defendants using their .
     5
     6   Website was in or around late 2019, and Plaintiff still encountered barriers to access on their

     7   Website. Despite past and recent attempts to do business with Defendants on their Website, the

     8   numerous access barriers contained on the Website and encountered by .Plaintiff have denied
                                         .                  .. . . .  .·   .   .                .

     9
         Plaintiff full and equal access to Defendants' Website. Plaintiff, as a re.suit of the barriers on the
    10
         Website, continues to be deterred on a regular basis_from accessing Defendant's website.
    11
         Likewise, based on the numerous access barriers Plaintiff has been p recluded from the full and
    12

    13   equal enjoyment of physical location(s) that offer for sale Defendants_' ·p roducts.

    14       48. If Defendants' Website was equally-accessible to ~II, Plaintiff could independently
    15
         navigate the website, complete a desired transaction, and find a location to visit.
    16
             49. Through her many attempts to use Defendants' Website, Plaintiff has actual knowledge
    17
         of the access barriers that make these privileges, goo'ds.or services inaccessible and
    18
                                                                               ~

    19   independently unusable by blind and-visually-impaired people. ·

    20       50. There are readily available and easy to implement guidelines, available to Defendant on
    21
         the Internet, for designing, constructing and maintaining websites to be accessible to blind and
    22
         visually-impaired persons. Other large business entities_have used these ~uide_lines,_or hav~
    23
         otherwise been able, to make their websites
                                             .
                                                     accessible,
                                                         . .     including
                                                                   .
                                                                           h~t
                                                                            .
                                                                               not. limit6d .to:
                                                                                              .
                                                                                                 addi~g alt-
                                                                                                         .
                                                                                                             ·_. .
    24

    25   text to graphics, including labels for each form control and text for all links, providing

    26   alternatives to inaccessible content and ensuring that all significant functions can be performed

    27   using a keyboard. In addition, incorporating these basic_changes and adding certain e lements to.
    28                                                                                     .. ,. . .. .
                                                                                        ·.· ...


                                                       COMPLAINT.
                                                           • .12'· .
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 14 of 18 Page ID #:17




         Defendants' Website accessibility would not fundamentally aiter the nature of Defendants'

     2   business nor would it result in an undue burden to Defendants.
     3
             51. Because maintaining and providing a website where all functions can be performed using
     4
         a keyboard, would provide full, independent and.equal accessibie·to allcon_sumers, Plaintiff ·
     5
         alleges that Defendants have engaged in a.cts of inte~tional discrimination,. induding but not
     6
     7   limited to the following policies or practices:

     8              a. Construction and maintenance of a Website that is inaccessible to visually-
     9
                         impaired individuals, including Plaintiff; .
    10
                     b. Failure to construct aitd maintain a website that is s.u fficiently intuitive so as to        be
    11
                             .         .         .           .

                         equally accessible to visually-impaired individuals, including Plaintiff; and,
    12

    13              c.   Failure to take actions to correct these access barriers in the face of substantial

    14                   harm and discrimination to blind and visually,~ impaired.consumers.
    15
             52. Because Defendants' Website has never been equally accessible; and because.Defendants
    16
         lack a corporate policy that is reasonably calculated to cause the Website to become and remain
    17
         accessible, Defendants therefore use standards, criteria or methods of administration that have
    18

    19   the effect of discriminating or perpetuating the disc_rimination ofothers, ~s alleged _h erein ..
                                                                                       .                  .

    20       53. If Defendants' Website were equally and fully accessible to all, Plaintiff and similarly

    21   situated visually impaired people could independe_ntly view information on the Website, access
    22
         details relating to physical location(s) that offer for sale Defendants' products, make purchases o
    23
         goods and services on line and review information relating.to other.goods and services available
    24                                                            .   .   ·. ..   .·   ·... ,   .   ·,-       .   .



    25   via Defendants' Website . .

    26
    27
    28

                                                      COMPLAINT
                                                         ~ 13 .-. .
Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 15 of 18 Page ID #:18




             54. Although Defendants may currently have centralized policies regardin·g the maintenance

     2   and operation of their Website, Defendants lack-a plan and policy reasonably calculated to make
     3
         the Website fully and equally accessible to, and independently usable by, the visually impaired.
     4
             55. Without injunctive relief, Plaintiff and other visually-impaired consumers will continue
     5
         to be unable to independently use the Defendants' Website in violation of their rights.
     6
     7                                     FIRST CAUSE OF ACTION
                                        Violation of Unruh Civil Rights Act
     8                                (California Civil Code"§"§ 51, 52, et seq.)
                                         (Injunctive Relief And Damages)
     9
    10       56. Plaintiff re-alleges and incorporates by referenc~ all- paragraphs alleged above and each

    11   and every other paragraph hereafter necessary or hefpful to ·s tate thi.s cause of action as though

    12   fully set forth herein.
    13
             57. The Unruh Civil Rights Act guarantees, inter alia, that persons with disabilities are
    14
         entitled to full and equal accommodations, advantages, facilities, privileges, or services in all
    15
    16   business establishments of every kind whatsoever within the jurisdiction of the state of

    17   California. See Cal. Civ. Code§ 51(b).

    18       58. Plaintiff is informed and believes, and thereon alleges that Defendants manage, own,
    19
         operate, partner with and/or collaborate with brick-and-mortar location(s) that offer Defendants'
    20
         goods and services for sale to the general public, including but not limited to commercial retail
   21
         store(s) that are places of public accommodation. Those retail store(s) are commercial stores tha
    22
    23   offer for sale clothing and other personal accessories to the public. Defendants' business

   24    transactions and/or establishments are within the jurisdiction of the State of California, and as
    25
         such are obligated to comply with the provisions of u·RcA, Califo.rnia _tiv.il Code _§§   51, et s~q.
    26
             59. Upon information and be.lief, Plai~tiff alleges that_Defe~dant owns,"operat~s, ·manages,
    27
         updates and/or monetizes its Website, which provides to the public a wide array of goods,
    28

                                                     COMP~AINT -
                                                         - 14 : .
        Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 16 of 18 Page ID #:19




                 services, discounts, gift cards; and/or information concerning the brick-and-mortar retail store(s)

             2   that offer for sale Defendants' goods, including the one(s) located in _theCounty _of Los Arigeles.
             3
                 The Website also offers the public features that"allow the"sat"e of Defendant's go~ds and ~ervices.
             4
                     60. Upon information and belief, Defendants generate significant revenue from the sale of
             5
                 goods and services through their Website. Defendants' Website is a service provided by
             6
             7   Defendants that is not fully accessible to patrons-who are biind:o~visually-_impaired like ·

             8   Plaintiff. This inaccessibility denies _blind and visually~impaired patrons full and e·tjual access to
             9
                 the facilities, goods, and services that Defendants_make. available to the non-disabled public.
            10
                 Defendants are violating the UCRA, Civil Code §"§ 51, et seq., by _denying visually-impaired
            11
                 customers the goods and services provided on their Website .." These violat_ions are ongoing.
            12

            13       61. Defendants' actions constitute· intentional discrimination against P-laintiff on the basis of

            14   a disability, in violation of the UCRA, Civil Code ·§§ 51, et seq., because, among other things,
            15   (I) Defendants have constructed, maintained, owned, monetized and/or operated a Website that
            16
                 is inaccessible to visually impaired individuals, such as .Plaintiff; (2) Defendants have opted. to
            17
                 maintain this Website in such an inacce·ssible form despite weJl-established and readily .
            18
            19   implementable i!)dustry guidelines for making ·websites accessible; (3) and Defendants have

           20    failed to take action to correct and rectify t~ese ba_rriers even after being on notice of the
           21    discrimination that such barriers may create for visuall_y impaired indivi~ua:ls,·such as ~laintiff._
           22
                    62. Defendants are further violating theUCRA; Civil .Code§§ 51·, et s_eq.~ because t_he : · ·
           23
                 conduct as alleged herein violates various provisions of the Americans with Disabilities Act
           24
                 ("ADA"), 42 U.S.C. §§ 12101, et seq., for the reasons set forth above. Under Cal. Civ. Code§
            25

            26   51 (f), a violation of an individuars rights under
                                                              .  .
                                                                    the.
                                                                     .
                                                                         _AbA. _also
                                                                                  . ..
                                                                                       constitutes
                                                                                        . . .    ,.
                                                                                                   a-violation under_
                                                                                                  . ...        .  ~
                                                                                                                    the
                                                                                                                      .




            27   UCRA. Defendants' discrimina_
                                             tory cond_
                                                      uct alleged   herein in_c. ludes, inter alia, the _violation of
                                         .          .
                                                 ·.- .  .     .  .· - . .                     ,              '..   .. .

            28

                                                              COMPLAINT

                                                         ----- ----- ~-
                                                                 - 15 - --"- -                 - -        --   ---- ----
----- - - - -
                 - - ----- -                                                          ...
                                                                                      •
       Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 17 of 18 Page ID #:20




                the rights of persons with disabilities set forth in Title III of the ADA and, therefore, also violates

            2   the Unruh Act. See Cal. Civ. Code § 51 (f).
            3
                    63. Unless the Court enjoins Defendant_sfrom continuing to engage _in these unlawful
            4
                practices, Plaintiff will continue to suffer irreparable harm. Plaintiff is therefore entitled to
            5
                injunctive relief remedying the discrimination. Plaintiff expressly limits the cost of all injunctive
            6

            7   relief sought to $15,000 or less.

            8       64. Plaintiff is also entitled to statutory minimum damages pursuant to. UCRA, C ivil Code §
            9
                52 for each offense. Plaintiff hereby expressly limits the total amount sought for every single
           10
                offense to $34,999 or less.
           11
                   65. Plaintiff is further entitled to reasonable attorneys' _fees and costs.
           12

           13                                        PRAYER FOR RELIEF

           14   WHEREFORE, Plaintiff prays pray for judgment against Defendants, as follows:

           15      A. A preliminary and permanent injunctioo-.e·njoining Defendants from further violations of
           16
                       the UCRA, Civil Code§§ 51, et seq., with respect to their Website,
           17
                       https://www.patagonia.com/, and all of the webpages and urls contained therein;
           18

           19
                   B. A preliminary and permanent injuncti_on requiring Defendants to take the steps necess~ry

           20          to make their Website readily and fully accessible to and usable by blind and visually-

           21          impaired individuals. Plaintiff expressly lim its the cost of injunctive relief sought in
           22
                       sections A and B to $15,000 or less;
           23
                   C. An award of statutory minimum damages of$4,000
                                                            ..       pe~-~iolation pursuant to§ 52(a) of .
                                                                        .
           24
                       the California Civil Code;
           25

           26      D. For attorneys' fees and expenses pursuant to all applicable laws including, without

           27          limitation, pursuant to California Civil Code § 52(a);:.
           28




- - -------1 - --- --        - ----           - -
                                                  ___      · COMPLAINT
                                                               . ~ 16 ._ .
                                                                   .   _ _ _-----          - --- ------
    Case 2:20-cv-07426-PSG-E Document 1-1 Filed 08/17/20 Page 18 of 18 Page ID #:21




         1-      E. For pre-judgmentinterest to the extent permitted by law;

         2       F. For costs of suit; and
         3
                 G. For such other and further relief as this Court deems just and proper.
         4
                                              DEMAND FOR JURY TRiAL.
         5
                 Plaintiff hereby respectfully requests a.trial byjury on all appropriate issues raised in this
         6
         7-   Complaint.

         8
              Dated: June 3, 2020                                BEVERLY
                                                                     .
                                                                         HILLS·TRIAL ATTORNEYS,
                                                                                      .
                                                                                                P.C.
         9

        10
                                                                 ·-/~ ..
        11                                               - ~zar~12f1&-C.-
                                                             ·Attorney for Plaintiff
        12
                                                              ADERIYIK~ LAWAL
        13

        14
        1_5
        16

        17

        18

        19
-       20
                                                           , !   .   .    ,   :



        21

        22
        23
        24
        25
        26

        27

        28

                                                         COMPLAINT_
                           _.                                        • 17.~ ....__,'.~   ~   - - - - - -•·
              1~~------~--'~--~
